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 1   STEVEN W. MYHRE
     Acting United States Attorney
 2   PATRICK BURNS
     Assistant United States Attorney
     Nevada State Bar #: 11779
 3   501 Las Vegas Boulevard South, Suite 1100
     Las Vegas, Nevada 89101
 4   (702) 388-6336/Fax: (702) 388- 6418
     John.P.Burns@usdoj.gov
 5
     Representing the United States of America
 6
                       UNITED STATES DISTRICT COURT
 7                          DISTRICT OF NEVADA
 8                                           -OOO-
     UNITED STATES OF AMERICA,
 9
                                Plaintiff,        CASE NO: 2:17-cr-00205-APG-GWF
10
         vs.
                                                  STIPULATION TO CONTINUE
11   CAMILO Q. PRIMERO, and                       INITIAL APPEARANCE – PLEA
     AURORA S. BELTRAN,                           AND ARRAIGNMENT ON
12                                                INDICTMENT
                                Defendants.
13

14         It is hereby stipulated and agreed, by and between Steven W. Myhre, Acting

15   United States Attorney, through Patrick Burns, Assistant United States Attorney,

16   and Jeffrey Setness, Esq., counsel for Defendant Camilo Q. Primero, and Michael

17   Cristalli, Esq., counsel for Defendant Aurora S. Beltran, that the initial appearance

18   date in the above-captioned matter, previously scheduled for July 12, 2017, at 3:00

19   p.m., be vacated and continued until a time convenient to the Court, preferably July

20   31, 2017 at 3:00 p.m.

           This Stipulation is entered into for the following reasons:
21

22
           1.     On July 5, 2017, a grand jury indicted Defendants Primero and Beltran
23
     with: one Count of Conspiracy to Commit Health Care Fraud; one count of Health
24
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 1   Care Fraud; one count of Fraudulent Concealment Involving a Federal Health Care

 2   Program; three counts of False Statements Relating to A Health Benefit Program;

 3   and thirteen counts of Money Laundering. At the grand jury return, the Court

 4   granted a summons return date of July 12, 2017 at 3:00 p.m.
 5           2.      Counsel for Defendants Primero and Beltran are both unavailable to
 6
     appear on July 12, and are also out of the jurisdiction for most of the balance of July
 7
     2017. They request that the summons return date be moved to July 31, 2017 at 3:00
 8
     p.m.
 9
             3.      Defendants Primero and Beltran are out of custody and do not oppose
10
     this request.
11
             4.      The Government does not oppose this request.
12
             5.      This is the first request for a continuance filed in this matter.
13

14
     Dated this 10th day of July, 2017
15
                                                       STEVEN W. MYHRE
16                                                     Acting United States Attorney

17         /s/                                               /s/
     By: _______________________                       By:____________________
18       JEFFREY SETNESS, Esq.                            PATRICK BURNS
         Counsel for Defendant PRIMERO                    Assistant United States Attorney
19

20
           /s/
21   By: _______________________
         MICHAEL CRISTALLI, Esq.
22       Counsel for Defendant Beltran

23                                             2

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 1                        UNITED STATES DISTRICT COURT
 2                             DISTRICT OF NEVADA
                                               -OOO-
 3
      UNITED STATES OF AMERICA,
 4
                                  Plaintiff,        CASE NO: 2:17-cr-00205-APG-GWF
 5
         vs.
 6
      CAMILO Q. PRIMERO, and
      AURORA S. BELTRAN,                                    FINDINGS OF FACT
 7
                                  Defendants.
 8
             Based on the pending Stipulation of counsel, and good cause appearing
 9
     therefore, the Court finds that:
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             1.      On July 5, 2017, a grand jury indicted Defendants Primero and Beltran
11
     with: one Count of Conspiracy to Commit Health Care Fraud; one count of Health
12
     Care Fraud; one count of Fraudulent Concealment Involving a Federal Health Care
13

14   Program; three counts of False Statements Relating to A Health Benefit Program;

15   and thirteen counts of Money Laundering. At the grand jury return, the Court

16   granted a summons return date of July 12, 2017 at 3:00 p.m.

17           2.      Counsel for Defendants Primero and Beltran are both unavailable to

18   appear on July 12, and are also out of the jurisdiction for most of the balance of July

19   2017. They request that the summons return date be moved to July 31, 2017 at 3:00

20   p.m.

21           3.      Defendants Primero and Beltran are out of custody and do not oppose

22   this request.
23                                              3

24
         Case 2:17-cr-00205-APG-EJY       Document 9     Filed 07/11/17    Page 4 of 4




 1
           4.    The Government does not oppose this request.
 2         5.    This is the first request for a continuance filed in this matter.
 3
                                           ORDER
 4         IT IS FURTHER ORDERED that the initial appearance hearing for plea and

 5   arraignment in United States v. Camilo Q. Primero and Aurora S. Beltran, 2:17-cr-

 6   00205-APG-GWF, previously scheduled for July 12, 2017 at 3:00 p.m. is vacated and

     continued until ______________________
                       July 31, 2017        at 3:00 p.m. in Courtroom 3C.
 7

 8
     Dated this11th
                ___day of July, 2017
 9

10
                                                   By: _______________________
11                                                    JUDGE GEORGE W. FOLEY
                                                      United States Magistrate Judge
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